Case 1:18-cv-01684-ESH Document6 Filed 08/14/18 Page 1of1

Case 1:18-cv-01684-ESH Document 3 Filed 07/19/18 Page 2 of 4
AO 440 (Rev. 06/12} Summons in 6 Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ, P. 4 ()

This summons for (name of individual and title, ifany) SEAN LOJACONO
was received by me on (date) July 19, 2018

0 I personally served the summons on the individual at (place)

On (date) ; or

0 J left the summons at the individual's residence or usual place of abode with fname)

, 4 person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

GC | served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

On (date) ; Or

0 [| returned the summons unexecuted because ;or
he Other (specif), Pursuant to MPD's General Order 701.04 governing service of summons on its officers, [ emailed the

summons for Officer Lojacono to mpd.subpoenas@dc.gov on July 20, 2018. Acceptance of service for

the summons on July 20, 2018 was acknowledged in the Office of the Attorney General's Consent
Motion for Enlargement of Time (Document 5) filed August 10, 2018.

My fees are § for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: August 14, 2018

Elaine Stamp
Paralegal
ACLU Foundation of the District of Columbia
Printed name and tile

Server's signature

ACLU Foundation of the District of Columbia
915 15th St. NW, 2nd Floor

Washington D.C. 20005

Server's address

Additional information regarding attempted service, etc:
